
625 S.E.2d 781 (2005)
Chester M. BOZETARNIK
v.
STATE of North Carolina.
No. 69P05.
Supreme Court of North Carolina.
December 1, 2005.
Chester M. Bozetarnik, Pro Se.
John G. Barnwell, Assistant Attorney General, G. Dewey Hudson, District Attorney, for State of NC.

ORDER
Upon consideration of the petition filed by Plaintiff on the 26th day of January 2005 in this matter for a writ of certiorari to review the order of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed by order of the Court in conference, this the 1st day of December 2005."
